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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 7
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                                                                       Page 1

 1                  UNITED STATES DISTRICT COURT
                     DISTRICT OF SOUTH CAROLINA
 2                       CHARLESTON DIVISION
         -----------------------------------------------X
 3       THE SOUTH CAROLINA STATE CONFERENCE OF THE
         NAACP, et al.,
 4
                        Plaintiffs,
 5
              vs.   CASE NO. 3:21-CV-03302-JMC-TJH-RMG
 6
         THOMAS C. ALEXANDER, et al.,
 7
                      Defendants.
 8       -----------------------------------------------X
 9                      VIDEOCONFERENCE
10                     DEPOSITION OF NEAL COLLINS
11                        (Attending by VTC)
12       DATE:             July 28, 2022
13       TIME:             10:06 a.m.
14       LOCATION:         Law Offices of
                           NEXSEN PRUET, LLC
15                         104 South Main Street
                           Suite 900
16                         Greenville, South Carolina
17       TAKEN BY:         Counsel for the Plaintiff
18       REPORTED BY:      JULIE L. BONOMO
19                         (Attending by VTC)
20
21
22
23
24
25

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                                                                    Page 50

 1       obviously wouldn't apply to Congress.                   So that's
 2       why I'm kind of bringing this up.                   If you ask him a
 3       question, it can be assumed that his response is
 4       with respect to Congress.
 5                       MR. HINDLEY:        Yes.      If I want to have a
 6       question about state redistricting, I'll say that
 7       specifically.
 8                       MR. MATHIAS:        Okay.         Thank you.
 9                       MR. HINDLEY:        Thank you, Andrew.
10       BY MR. HINDLEY:
11                  Q.   Now, can you describe how the
12       guidelines guided your process of evaluating maps?
13                  A.   They -- it was good for me at the
14       outset to know what the guidelines were and where
15       we should focus our attention.
16                  Q.   So did you ever evaluate a map and find
17       that it didn't comply with the guidelines?
18                  A.   Honestly, I thought some of the maps by
19       third parties did not go by the guidelines like we
20       had to.
21                  Q.   And did you ever -- did the committee
22       ever consider a map that might have contradicted
23       the guidelines?
24                  A.   Yes.   In my opinions, the League of
25       Women Voters and the ACLU provided such maps.

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                                                                    Page 51

 1                  Q.   And why do you believe the League of
 2       Women Voters provided a map that contradicted the
 3       guidelines?
 4                  A.   They wanted a higher deviation, and
 5       they also obviously did not care about incumbency.
 6                  Q.   And why did you believe the NAACP's map
 7       contradicted the guidelines?
 8                  A.   Similar -- similar reasons.
 9                  Q.   And did anything else outside of the
10       guidelines impact your consideration of maps?
11                  A.   I would say, no.
12                  Q.   Any like local concerns impact your
13       consideration of maps?
14                  A.   Well, I would say local concerns and
15       the example that I gave would be communities of
16       interest and public input.              I believe the
17       guidelines do well giving a guide post.
18                  Q.   Now, I just want to turn to Section 9
19       the priority of criteria.             So according to these
20       guidelines, the first four are more important; is
21       that correct?
22                  A.   Yes.
23                       THE COURT REPORTER:               Can you repeat
24       that question, please?           Sir, can you repeat that
25       question -- the first?

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 1                       CERTIFICATE OF REPORTER
 2
 3                      I, Julie L. Bonomo, Court Reporter and
 4       Notary Public for the State of South Carolina at
 5       Large, do hereby certify that the foregoing
 6       transcript is a true, accurate, and complete
 7       record.
 8                      I further certify that I am neither
 9       related to nor counsel for any party to the cause
10       pending or interested in the events thereof.
11                      Witness my hand, I have hereunto
12       affixed my official seal this 10th day of August,
13       2022, at Charleston, Charleston County, South
14       Carolina.
15
16
17
         <%21875,Signature%>
18         Julie L. Bonomo
        Court Reporter
19         My Commission expires
        July 28, 2027
20
21
22
23
24
25

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 1                                    ERRATA SHEET
                            VERITEXT/NEW YORK REPORTING, LLC
 2
           CASE NAME: South Carolina State Conference Of The NAACP And Scott,
        Taiwan v. Mcmaster, Henry, Et Al.
 3         DATE OF DEPOSITION: 7/28/2022
           WITNESSES’ NAME: Neal Collins
 4
 5          PAGE   LINE (S)        CHANGE                REASON
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21                                                   ______________________________
                                                    Neal Collins
22         SUBSCRIBED AND SWORN TO BEFORE ME
           THIS ____ DAY OF ____________, 20__.
23
24
           _____________________                         _______________________
25         (NOTARY PUBLIC)                               MY COMMISSION EXPIRES:

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